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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA : No. 21-cr-005 (ABJ)
Vv. :
: FILED
MARK LEFFING WELL, : OCT 26 2024
Defendant. : Clerk, U.S. District and

Bankruptcy Courts
STATEMENT OF OFFENSE

Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and
through its attorney, the United States Attorney for the District of Columbia, and the defendant,
Mark Leffingwell, with the concurrence of his attorney, agree and stipulate to the below factual
basis tor the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties
stipulate that the United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitel on January 6, 2021

1, The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured 24 hours a day by U.S. Capito! Police. Restrictions around the U.S. Capito! include
permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

2. On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members
of the public.
a On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

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the Electoral College of the 2020 Presidential Election, which had taken place on November 3,
2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session, and then in the
Senate chamber.

4, As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior of
the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd
away from the Capitol building and the proceedings underway inside.

ey At approximately 2:00 p.m., certain individuals in the crowd forced their way
through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd
advanced to the exterior fagade of the building. The crowd was not lawfully authorized to enter
or remain in the building and, prior to entering the building, no members of the crowd submitted
to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized
security officials.

6, At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,
shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by
breaking windows and by assaulting members of law enforcement, as others in the crowd
encouraged and assisted those acts. The riot resulted in substantial damage to the U.S. Capitol,

requiring the expenditure of more than $1.4 million dollars for repairs.

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7. Shortly thereafter, at approximately 2:20 p.m., members of the United States House
of Representatives and United States Senate, including the President of the Senate, Vice President
Pence, were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the
United States Congress, including the joint session, were effectively suspended until shortly after
8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful entry to
the U.S. Capitol, including the danger posed by individuals who had entered the U.S. Capitol
without any security screening or weapons check, Congressional proceedings could not resume
until after every unauthorized occupant had left the U.S. Capitol, and the building had been
confirmed secured. The proceedings resumed at approximately 8:00 p.m. after the building had
been secured. Vice President Pence remained in the United States Capito] from the time he was
evacuated from the Senate Chamber until the session resumed.

Mark Leffingwell’s Participation in the January 6, 2021, Capitol Riot

8. At approximately 4:00 p.m., the defendant made his way just inside the Senate
Wing entrance to the United States Capitol where he stood at the front of a crowd of persons who
had been rebuffed by a line of United States Capitol Police (USCP) and District of Columbia
Metropolitan Police (MPD) Officers who were preventing rioters from entering the building.

9, After minutes of chanting, the crowd moved closer to the line of officers. USCP
Officers Amendola and Hart try to keep the crowd, including the defendant, at bay by pushing
them back. In response, the defendant punched Officer Amendola and then punched Officer Hart.
As the officers attempted to detain him, the defendant again punched Officer Amendola, who was

eventually able to detain the defendant.

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10, | When the defendant punched Officers Amendola and Hart, they were both officers
and employees of the United States Capitol Police and were engaged in the performance of their

official duties.

Respectfully submitted,

CHANNING D. PHILLIPS
Acting United States Attorney
D.C. Bar No. 415793

By:

 

Christopher A’ Berridge
Assistant United States Attorney

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DEFENDANT’S ACKNOWLEDGMENT

I, Mark Leffingwell, have read this Statement of the Offense and have discussed it with my
attomey. | fully understand this Statement of the Offense. I agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. 1 do this voluntarily and of my

own free will. No threats have been made to me nor am I under the influence of anything that
could impede my ability to understand this Statement of the Offense fully.

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Mark Leffingwé <7 a oy e
Defendant
ATTORNEY'S ACKNOWLEDGMENT

J have read this Statement of the Offense and have reviewed it with my client fully. I concur
in my client's desire to adopt this Statement of the Offense as true and accurate.

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Mark Carro}l
Attorney fotefendant

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